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     Telephone: (559) 237-6000
 4
     Attorney for Defendant, ROBERT JOHNSON
 5
 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )                CASE NO. 05-00391 OWW
10                               )
          Plaintiff,             )
11                               )                STIPULATION AND
         v.                      )                PROPOSED ORDER
12                               )
     ROBERT JOHNSON,             )
13                               )
                 Defendant.      )
14   ____________________________)
15         The parties hereto, by and through their respective attorneys, stipulate and
16   agree that the status hearing scheduled for September 11, 2006 be continued until
17   October 10, 2006 at 9:00 a.m. in the above-entitled court.
18         This request is made to allow parties additional time for counsel to negotiate
19   settlement of the case which will eliminate or minimize the need for formal
20   objections.
21         The parties also agree that any delay resulting from this continuance shall
22   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
23   3161(h)(8)(A) and 3161(h)(8)(B)(I).
24
     DATED: August 30, 2006               /s/ Stanley Boone
25                                        STANLEY BOONE
                                          Assistant United States Attorney
26                                        This was agreed to by Mr. Boone
                                          via telephone, on August 30, 2006
27
28

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       Case 1:05-cr-00391-AWI Document 127 Filed 09/05/06 Page 2 of 2


 1
     DATED: August 30, 2006            /s/ Roger K. Litman
 2                                     ROGER K. LITMAN
                                       Attorney for Defendant
 3                                     ROBERT JOHNSON
 4
     DATED: August 30, 2006            /s/ Anthony Capozzi
 5                                     ANTHONY CAPOZZI
                                       Attorney for Defendant
 6                                     AMINAH RANDLE
                                       This was agreed to by Mr. Capozzi
 7                                     via telephone, on August 30, 2006
 8   IT IS SO ORDERED.
 9   Dated: September 2, 2006              /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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